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U.S, DISTRIEF COURT
UNITED STATES DISTRICT COURT MIDE? PISTRICT OF TENN,
MIDDLE DISTRICT OF TENNESSEE ~ - Oct Pe 2021

NASHVILLE DIVISION j
BY

 

UNITED STATES OF AMERICA
No.  3:21-CR-00171
Vv.
18 U.S.C. §2
18 U.S.C. § 371

18 U.S.C. § 1347

18 U.S.C. § 1349

42 U.S.C. § 1320a-76(b)(1)(A)
42 U.S.C. § 1320a-7b(b)(2)(A)

[1] FADEL YASER ALSHALABI
[2] EDWARD D. KLAPP

[3] MELISSA L, CHASTAIN
a/k/a “Lisa Chastain”

JUDGE RICHARDSON

SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

INTRODUCTION

At all times material to this Superseding Indictment:

1, The Medicare Program (“Medicare”) was a federal health care program that
provided benefits to individuals who were sixty-five years of age or older, or disabled. The
benefits available under Medicare were governed by federal statutes and regulations. The United
States Department of Health and Human Services (“HHS”), through its agency the Center for
Medicare and Medicaid Services (“CMS”), oversaw and administered Medicare. Individuals who
received benefits under Medicare were commonly referred to as Medicare “beneficiaries.”

2. The Medicaid Program (“Medicaid”) was a federal and state funded health care
program providing benefits to people who met specified financial and other eligibility
requirements, and certain other individuals who lacked adequate resources to pay for medical care.
Medicaid was administered pursuant to Title XIX of the Social Security Act. CMS was responsible

for overseeing the Medicaid program in participating states. The benefits available under

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Medicaid were governed by federal statutes and regulations, and by rules implemented by the
individual states. Individuals who received benefits under Medicaid were commonly referred to
as Medicaid “beneficiaries.”

3. Medicare and Medicaid were “health care benefit program[s],” as defined by Title
18, United States Code, Section 24(b) and “federal health care program[s]” as defined in Title 42,
United States Code, Section 1320a-7b(f).

4, Medicare programs covering different types of benefits were separated into
different program “parts.” For example, “Part A” of the Medicare program covered health services
provided by hospitals, skilled nursing facilities, hospices and home health agencies, “Part B”
covered medical services by laboratories and physicians and is described in more detail below,
“Part C,” also known as “Medicare+Choice” and “Medicare Advantage” is described in further
detail below, and “Part D” covered prescription drugs.

5. Physicians, clinics and other health care providers, including laboratories, that
provided services to Medicare beneficiaries were able to apply for and obtain a “provider number.”
A health care provider that received a Medicare provider number was able to file claims with
Medicare to obtain reimbursement for services or items provided to beneficiaries.

6. A Medicare claim was required to contain certain important information, including:
(a) the Medicare beneficiary’s name and Health Insurance Claim Number (“HICN”); (b) a
description of the health care benefit, item, or service that was provided or supplied to the
beneficiary; (c) the billing codes for the benefit, item, or service; (d) the date upon which the
benefit, item, or service was provided or supplied to the beneficiary: and (e) the name of the

referring physician or other health care provider, as well as a unique identifying number, known

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either as the Unique Physician Identification Number (“UPIN”) or National Provider Identifier
(“NPI”). The claim form could be submitted in hard copy or electronically.
PART B COVERAGE AND REGULATIONS

7. “Part B” of the Medicare Program was a medical insurance program that covered,
among other things, medical services provided by physicians, medical clinics, laboratories and
other qualified health care providers, such as office visits, minor surgical procedures, and
laboratory testing that were medically necessary and ordered by licensed medical doctors or other
qualified health care providers.

8. CMS acted through fiscal agents called Medicare administrative contractors
(“MACs”), which were statutory agents for CMS for Medicare Part B. The MACs were private
entities that reviewed claims and made payments to providers for services rendered to Medicare
beneficiaries. The MACs were responsible for processing Medicare claims arising within their
assigned geographical area, including determining whether the claim was for a covered service.

9, Novitas Solutions Inc. (“Novitas”) was the MAC for the consolidated Medicare
jurisdictions that covered Colorado, Delaware, Louisiana, Maryland, Mississippi, New Jersey,
New Mexico, Oklahoma, Pennsylvania, Texas, and Washington, D.C. Palmetto GBA (“Palmetto”)
was the MAC for the consolidated Medicare jurisdictions that included Alabama, Georgia, North
Carolina, South Carolina, Tennessee, Virginia, and West Virginia.

10. Toreceive Medicare reimbursement, providers had to make appropriate application
to the MAC and execute a written provider agreement. The Medicare provider enrollment
application, CMS Form 855B, was required to be signed by an authorized representative of the
provider. CMS Form 855B contained a certification that stated: |

I agree to abide by the Medicare laws, regulations and program instructions that
apply to this supplier. The Medicare laws, regulations, and program instructions are

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available through the Medicare contractor. I understand that payment of a claim by

Medicare is conditioned upon the claim and the underlying transaction complying

with such laws, regulations, and program instructions (including, but not limited to,

the federal anti-kickback statute and the Stark law), and on the supplier’s

compliance with all applicable conditions of participation in Medicare.

11. CMS Form 855B contained additional certifications that the provider “will not
knowingly present or cause to be presented a false or fraudulent claim for payment by Medicare,
and I will not submit claims with deliberate ignorance or reckless disregard of their truth or falsity.”

12. Payments under Medicare Part B could be made directly to the health care provider
rather than to the patient or beneficiary. For this to occur, the beneficiary would assign the right of
payment to the health care provider. Once such an assignment took place, the health care provider
would assume the responsibility for submitting claims to, and receiving payments from, Medicare.

THE MEDICARE ADVANTAGE PROGRAM

13. The Medicare Advantage Program, formerly known as “Part C” or
“Medicaret+Choice,” provided Medicare beneficiaries with the option to receive their Medicare
benefits through a wide variety of private managed care plans, including health maintenance
organizations (“HMOs”), provider sponsored organizations (“PSOs”), preferred provider
organizations (“PPOs”), and private fee-for-service plans (“PFFS”), rather than through the
original Medicare program (Parts A and B).

14. Private health insurance companies offering Medicare Advantage plans were
required to provide Medicare beneficiaries with the same services and supplies offered under Parts
A and B of Medicare. To be eligible to enroll in a Medicare Advantage plan, a person had to have
been entitled to benefits under Part A and Part B of the Medicare Program.

15. | Anumber of companies, including Aetna, Inc. (“Aetna”), UnitedHealth Group, Inc.

(“UnitedHealth”), Humana Inc. (“Humana”), WellCare Health Plans, Inc. (“WellCare”) and CVS

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Health Corporation (“CVS Health”), along with their related subsidiaries and affiliates, contracted
with CMS to provide managed care to Medicare Advantage beneficiaries through various plans.

16. Medicare Advantage plans, including Aetna, UnitedHealth, Humana, WellCare and
CVS Health were “health care benefit programs,” as defined by Title 18, United States Code,
Section 24(b), and “Federal health care program[s],” as defined by Title 42, United States Code,
Section 1320a-7b(f).

17. The health insurance companies, through their respective Medicare Advantage
programs, often made payments directly to physicians, medical clinics, laboratories, or other health
care providers, rather than to the Medicare Advantage beneficiary that received the health care
benefits, items, and services. This occurred when the provider accepted assignment of the right to
payment from the beneficiary.

18. To obtain payment for services or treatment provided to a beneficiary enrolled in a
Medicare Advantage plan, physicians, medical clinics, laboratories, and other health care providers
had to submit itemized claim forms to the beneficiary’s Medicare Advantage plan. The claim forms
were typically submitted electronically via the internet. The claim form required certain important
information, including the information described above in Paragraph 6.

19. | When a provider submitted a claim form to a Medicare Advantage program, the
provider party certified that the contents of the form were true, correct, complete, and that the form
was prepared in compliance with the laws and regulations governing the Medicare program,
including the Anti-Kickback Statute. The submitting party also certified on claim forms that the
services being billed were medically necessary and were in fact provided as billed.

20. The private health insurance companies offering Medicare Advantage plans were

paid a fixed rate per beneficiary per month by the Medicare program, regardless of the actual

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number or type of services the beneficiary received. These payments by Medicare to the insurance
companies were known as “capitation” payments. Thus, every month, CMS paid the health
insurance companies a pre-determined amount for each beneficiary who was enrolled in a
Medicare Advantage plan, regardless of whether or not the beneficiary utilized the plan’s services
that month. CMS determined the per-patient capitation amount using actuarial tables, based on a
variety of factors, including the beneficiary’s age, sex, severity of illness, and county of residence.
CMS adjusted the capitation rates annually, taking into account each patient’s previous illness
diagnoses and treatments. Beneficiaries with more illnesses or more serious conditions would rate
a higher capitation payment than healthier beneficiaries.

21. Medicare Part B and Medicare Advantage plans are collectively referred to as
“Medicare” herein.

GENETIC TESTING

22. Cancer genomic (“CGx”) testing was a test that used DNA sequencing to detect
mutations in genes that could indicate a higher risk of developing certain types of cancers in the
future. CGx testing was not a method of diagnosing whether an individual presently had cancer.

23.  Pharmacogenetic (“PGx”) testing was a test that detected specific genetic variations
in genes that impacted the metabolism of certain medications. In other words, PGX testing helped
determine, among other things, whether certain medications would be effective if used by a
particular patient.

24. Medicare did not cover diagnostic testing that was “not reasonable and necessary
for the diagnosis or treatment of illness or injury or to improve the functioning of a malformed
body member.” Title 42, United States Code, Section 1395y(a)()(A). Except for certain statutory

exceptions, Medicare did not cover “examinations performed for a purpose other than treatment

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or diagnosis of a specific illness, symptoms, complaint or injury.” Title 42, Code of Federal
Regulations, Section 411.15(a)(1). Among the statutory exceptions Medicare covered were cancer
screening tests such as “screening mammography, colorectal cancer screening tests, screening
pelvic exams, [and] prostate cancer screening tests.” Jd.

25. — If diagnostic testing were necessary for the diagnosis or treatment of illness or
injury or to improve the functioning of a malformed body member, Medicare imposed additional
requirements before covering the testing. In particular, “[a]ll diagnostic x-ray tests, diagnostic
laboratory tests, and other diagnostic tests must be ordered by the physician who is treating the
beneficiary, that is, the physician who furnishes a consultation or treats a beneficiary for a specific
medical problem and who uses the results in the management of the beneficiary’s specific medical
problem.” Title 42, Code of Federal Regulations, Section 410.32(a). “Tests not ordered by the
physician who is treating the beneficiary are not reasonable and necessary.” Id.

26. Because CGx testing did not diagnose cancer, Medicare only covered such tests in
limited circumstances, such as when a beneficiary had cancer and the beneficiary’s treating
physician deemed such testing necessary for the beneficiary’s treatment of that cancer. Medicare
did not cover CGx testing for beneficiaries who did not have cancer or lacked symptoms of cancer.

27. In submitting claims to Medicare, providers used a variety of Current Procedural

Terminology “CPT” codes to indicate what CGx or PGx testing (collectively, “genetic testing”)

had been performed.
TELEMEDICINE
28. Telemedicine provided a means of connecting patients to doctors and other medical

providers by using telecommunications technology, to interact with a patient.

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29. During the timeframe of the conspiracy described below, Medicare covered
expenses for specified telehealth services if certain requirements were met. These requirements
included that (a) the beneficiary was located in a rural or health professional shortage area; (b)
services were delivered via an interactive audio and video telecommunications system; and (c) the
beneficiary was at a licensed medical provider’s office or a specified medical facility - not at a
beneficiary’s home - during the telehealth consultation with a remote provider.

30. Telehealth services could be covered by and reimbursable under Medicare, but only
if telemedicine was generally appropriate, as outlined above, and only if the services were both
ordered by a licensed medical provider and were reasonable and necessary to diagnose and treat a
covered illness or condition.

THE DEFENDANTS AND RELATED INDIVIDUALS

31. [1] FADEL Y. ALSHALABI was a resident of Waxhaw, Union County, North
Carolina.

32. Crestar Labs LLC, was a limited liability company organized under the laws of
Tennessee with its principal place of business at 2001 Campbell Station Parkway, Suite C-2,
Spring Hill, Tennessee 37174. [1] ALSHALABI registered Crestar Labs LLC with the Tennessee
Secretary of State on or about 2014.

33. Karemore Labs was a laboratory at 12091 Somerset Avenue, Princess Anne,
Maryland 21853. [1] ALSHALABI acquired Karemore Labs in approximately January 2019.
Karemore Labs was also known as Crestar Labs, Inc.

34. On or about July 2019, [1] ALSHALABI also acquired laboratories in Texas,

including Martis Analytics and Diagnostics LLC, also known as Crestar Labs LLC Texas, and

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Fortis Diagnostics, also known as CrestarDX, both of which were located at 1651 N. Collins Blvd.,
Richardson, Texas 75080.

35. The headquarters for the Crestar-associated laboratories described above
(collectively, “Crestar Labs”) was the Spring Hill, Tennessee, location, located within the Middle
District of Tennessee.

36. Crestar Labs was an enrolled Medicare provider and purported to be a laboratory
for genetic testing services.

37. [1] ALSHALABI controlled a Tennessee limited liability company called Stars
Holding, LLC, with a principal executive office in Charlotte, North Carolina. [1] ALSHALABI
utilized Stars Holding, LLC to purchase laboratories. [1] ALSHALABI was the sole member and
Chief Executive Officer of Stars Holding, LLC.

38. At all times relevant, [1] ALSHALABI was the owner, operator, and Chief
Executive Officer of Crestar Labs, at times through Stars Holding, LLC.

39, [2] EDWARD D. KLAPP was a resident of Jupiter, Florida, and employed as Vice
President of Sales for Crestar Labs starting on or about January 2018 through on or about
December 2019,

40. Co-Conspirator #2 was a resident of Easley, South Carolina, and employed as
Director of Client Services, and at times, Vice President of Operations for Crestar Labs. Co-
Conspirator #2 also performed billing services for Crestar Labs from a separate company. Co-
Conspirator #2 was associated with, or employed by, Crestar Labs starting on or about October
2018 through on or about anuary 2020.

41. Employee #1 was an employee of Crestar Labs in Spring Hill, Tennessee, and the

Technical Supervisor for Genetics.

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42. [3] MELISSA L. CHASTAIN, a/k/a “Lisa Chastain,” was a resident of Belton,
South Carolina, and was the owner and Chief Executive Officer of DNA Project Consulting LLC
d/b/a Genetix LLC (“Genetix”), a marketing company based in Belton, South Carolina, that
contracted with Crestar Labs to provide Crestar Labs with genetic testing samples from Medicare
and Medicaid beneficiaries starting on or about November 2018 through on or about January 2020.

43. Co-Conspirator #3 was a resident of Greenville, South Carolina, and was the
President of Genetix, LLC.

44. Crestar Labs, through [1] ALSHALABI, [2] KLAPP, and co-conspirators
contracted with various co-conspirator marketing companies (the “Marketing Companies”) to
obtain genetic testing samples from Medicare and Medicaid beneficiaries, including the following:

a. Genetix was a purported marketing company owned by [3] CHASTAIN and based
in South Carolina that identified and solicited beneficiaries to receive genetic
testing;

-b. Marketing Company #2 was a purported marketing company based in Florida that
identified and solicited beneficiaries to receive genetic testing;

c. Marketing Company #3 was a purported marketing company based in Georgia that
operated under two different company names and identified and solicited
beneficiaries to receive genetic testing;

d. Marketing Company #4 was a purported marketing company based in Maryland
that identified and solicited beneficiaries to receive genetic testing;

e. Marketing Company #5 was a purported marketing company based in Florida that

identified and solicited beneficiaries to receive genetic testing;

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f. Marketing Company #6 was a purported marketing company based in Florida that
identified and solicited beneficiaries to receive genetic testing;

g. Marketing Company #7 was a purported marketing company based in Utah that
identified and solicited beneficiaries to receive genetic testing;

h. Marketing Company #8 was a purported marketing company based in Florida that
identified and solicited beneficiaries to receive genetic testing;

i. Marketing Company #9 was a purported marketing company based in Colorado
that identified and solicited beneficiaries to receive genetic testing; and

j. Marketing Company #10 was a purported marketing company based in Ohio that
identified and solicited beneficiaries to receive genetic testing.

45. The Marketing Companies entered into agreements with various co-conspirator
companies who purported to provide telemedicine services (the “Telemedicine Companies”) to
pay for and obtain orders for genetic tests for Medicare beneficiaries to send to Crestar Labs,
including the following:

a. Telemedicine Company #1 was a purported telemedicine company based in Florida
that paid medical providers to sign orders for genetic testing;

b. Telemedicine Company #2 was a purported telemedicine company based in South
Carolina that paid medical providers to sign orders for genetic testing;

c. Telemedicine Company #3 was a purported telemedicine company based in
Kentucky that paid medical providers to sign orders for genetic testing; and

d. Telemedicine Company #4 was a purported telemedicine company based in Texas

that paid medical providers to sign orders for genetic testing.

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COUNT ONE

46. Paragraphs 1 through 45 are re-alleged and incorporated by reference as though
fully set forth herein.

47. From on or about July 2017 and continuing through on or about February 2020, in
the Middle District of Tennessee and elsewhere, [1] ALSHALABI, [2] KLAPP, and By
CHASTAIN did willfully and knowingly combine, conspire, confederate, and agree with each
other and others, known and unknown to the Grand Jury, including Co-Conspirator #2, the
Marketing Companies, and the Telemedicine Companies: to defraud the United States by
impairing, impeding, obstructing, and defeating through deceitful and dishonest means, the lawful
government functions of the United States Department of Health and Human Services in its
administration and oversight of the Medicare and Medicaid program, and to commit certain
offenses against the United States, that is:

a. knowingly and willfully offering and paying remuneration, including kickbacks,
bribes, and rebates, directly and indirectly, overtly and covertly, in cash and in kind
to any person to induce such person to refer an individual to a person for the
furnishing and arranging for the furnishing of any item or service for which
payment may be made in whole or in part a Federal health care program, that is,
Medicare and Medicaid, in violation of Title 42, United States Code, Section
1320a-7b(b)(2)(A);

b. knowingly and willfully offering and paying remuneration, including kickbacks,
bribes, and rebates, directly and indirectly, overtly and covertly, in cash and in kind
to any person to induce such person to purchase, lease, order, and arrange for and

recommend purchasing, leasing, and ordering any good, facility, service, or item

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for which payment may be made in whole or in part under a Federal health care
program, that is, Medicare and Medicaid, in violation of Title 42, United States
Code, Section 1320a-7b(b)(2)(B);

c. knowingly and willfully soliciting and receiving remuneration, including
kickbacks, bribes, and rebates, directly and indirectly, overtly and covertly, in cash
and in kind in return for referring an individual to a person for the furnishing and
atranging for the furnishing of any item or service for which payment may be made
in whole and in part under a Federal health care program, that is, Medicare and
Medicaid, in violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A);
and

d. knowingly and willfully soliciting and receiving remuneration, including
kickbacks, bribes, and rebates, directly and indirectly, overtly and covertly, in cash
and in kind in return for purchasing, leasing, ordering, or arranging for or
recommending purchasing, leasing, or ordering any good, facility, service and item
for which payment may be made in whole or in part under a Federal health care
program, that is, Medicare and Medicaid, in violation of Title 42, United States
Code, Section 1320a-7b(b)(1)(B).

PURPOSE OF THE CONSPIRACY
48. It was the purpose of the conspiracy for [1] ALSHALABI and his co-conspirators,
including [2] KLAPP, [3] CHASTAIN, Co-Conspirator #2, the Marketing Companies, the
Telemedicine Companies, and others known and unknown to the Grand Jury, to unlawfully enrich

themselves and others by, among other things:

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a. offering, paying, soliciting, and receiving kickbacks and bribes in return for
recruiting and referring Medicare and Medicaid beneficiaries for genetic testing to
Crestar Labs;

b. offering and paying kickbacks and bribes to marketers, including the Marketing
Companies, in return for marketers recruiting, recommending and referring
Medicare and Medicaid beneficiaries to obtain genetic material for genetic testing
kits and to sign medical documentation;

c. offering and paying kickbacks and bribes to telemedicine companies, including the
Telemedicine Companies, to obtain doctors’ orders for genetic testing for
beneficiaries;

d. submitting and causing the submission of claims to Medicare and Medicaid for
genetic tests;

e. concealing kickbacks and bribes;

f. concealing the submission of false and fraudulent claims to Medicare and
Medicaid; and

g. diverting proceeds for their personal use and benefit, the use and benefit of others,
and to further the conspiracy.

MANNER AND MEANS
49, The manner and means by which [1] ALSHALABI, [2] KLAPP, [3] CHASTAIN,
and their co-conspirators sought to accomplish the purpose of the conspiracy included, among
other things, the following:
50. It was part of the conspiracy that Crestar Labs was an enrolled and participating

provider in Medicare, through [1] ALSHALABI, who certified to Medicare that Crestar Labs

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would comply with all Medicare rules and regulations, and federal laws, including that he would
refrain from violating the federal Anti-Kickback Statute, which prohibited the knowing and willful
payment of kickbacks or bribes to induce or reward patient referrals involving any item or service
payable by federal health care programs, and that Crestar Labs would not knowingly present or
cause to be presented a false and fraudulent claim for payment by Medicare.

51. It was further part of the conspiracy that [1] ALSHALABI acquired a number of
additional laboratories in order to utilize different National Provider Identifier numbers to obtain
Medicare and Medicaid payment for Crestar Labs’ claims for genetic testing.

52. It was further part of the conspiracy that [1] ALSHALABI, on his own and through
employees of Crestar Labs, including [2] KLAPP or Co-Conspirator #2, paid kickbacks and bribes
to [3] CHASTAIN, the Marketing Companies, and others, in exchange for the recruitment and
referral of Medicare and Medicaid beneficiaries that [3] CHASTAIN and the Marketing
Companies referred to Crestar Labs for genetic testing, without regard to the medical necessity of
the tests.

53. It was further part of the conspiracy that [3] CHASTAIN and the Marketing
Companies solicited and received kickbacks, including from [1] ALSHALABI and [2] KLAPP,
in exchange for recruiting and referring Medicare and Medicaid beneficiaries to Crestar Labs,
knowing that Crestar Labs would bill Medicare and Medicaid for genetic testing purportedly
provided to the recruited beneficiaries, without regard to the medical necessity of the tests.

54. It was further part of the conspiracy that [1] ALSHALABI, on his own and through
employees of Crestar Labs, including [2] KLAPP or Co-Conspirator #2, entered into contracts or
agreements with [3] CHASTAIN and the Marketing Companies, that disguised kickbacks and

bribes as payments from the laboratories for marketing services.

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55. It was further part of the conspiracy that [3] CHASTAIN and the Marketing
Companies paid their field marketers or sales representatives to directly recruit Medicare and
Medicaid beneficiaries to provide samples of their genetic material to the marketer for genetic
testing and to sign documentation provided by the marketer or sales representative.

56. It was further part of the conspiracy that [3] CHASTAIN and the Marketing
Companies recruited Medicare and Medicaid beneficiaries at senior fairs, nursing homes, low-
income housing, door-to-door at beneficiary residences, and other locations, and induced them to
accept genetic tests regardless of the fact that these tests were not routinely covered by Medicare
or Medicaid and without regard to whether the tests were medically necessary.

57. It was further part of the conspiracy that [3] CHASTAIN and the Marketing
Companies used the recruited Medicare and Medicaid beneficiary information to generate genetic
testing orders by inputting the recruited Medicare and Medicaid beneficiary information into
Crestar Labs’ requisition order forms, or providing the information directly to the Telemedicine
Companies.

58. It was further part of the conspiracy that [3] CHASTAIN, and the Marketing
Companies, obtained signed orders for genetic tests for the recruited Medicare and Medicaid
beneficiaries by paying the Telemedicine Companies kickbacks and bribes for signed orders by
doctors or other medical providers (“doctors’ orders”) that ordered the genetic testing for Medicare
and Medicaid beneficiaries without regard to the medical necessity of the test and even though the
medical providers were not the treating physician for the beneficiaries, were not treating the
beneficiaries for cancer or symptoms of cancer, did not use the results in the treatment of the
beneficiaries, did not conduct a proper telemedicine visit, and often never communicated with the

beneficiaries at all.

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59. It was further part of the conspiracy that on occasion, [1] ALSHALABI, [2]
KLAPP, Co-Conspirator #2, and others at Crestar Labs, obtained the doctors’ orders, that were
procured through the payment of kickbacks, directly from the Telemedicine Companies.

60. It was further part of the conspiracy that [1] ALSHALABI, [2] KLAPP, Co-
Conspirator #2, and others at Crestar Labs, used the genetic testing samples and medical
documentation obtained from the beneficiaries by the Marketing Companies, as well as the
doctors’ orders, to submit or cause the submission of claims to Medicare and Medicaid for genetic
tests.

61. If was further part of the conspiracy that [1] ALSHALABI, [2] KLAPP, and their
co-conspirators tracked the number of referrals sent by the Marketing Companies, including [3]
CHASTAIN, the amount of the kickback payments to the Marketing Companies, and the
Medicare or Medicaid reimbursement for each referral.

62. It was further part of the conspiracy that [1] ALSHALABI, [2] KLAPP, and their
co-conspirators accepted sham invoices from the Marketing Companies that made it appear as if
the Marketing Companies provided hourly services by specific rate, as a means to conceal the true
nature of the kickbacks and bribes.

63. It was further part of the conspiracy that [1] ALSHALABI, [2] KLAPP, and their
co-conspirators accepted sham invoices from the Marketing Companies that made it appear as if
the Marketing Companies provided services via a flat fee, when in reality the amount of the
kickback and bribes was determined by the number and value of referrals, as a means to conceal
the true nature of the kickbacks and bribes.

64. It was further part of the conspiracy that [1] ALSHALABI, [2] KLAPP, and their

co-conspirators submitted, or caused to be submitted, approximately $86 million in claims to

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Medicare, including through a billing company operated by Co-Conspirator #2, for the genetic
tests obtained through kickbacks and bribes and without regard to whether the tests were medically
necessary or eligible for retmbursement.
65. — It was further part of the conspiracy that as a result of these claims, Medicare paid
Crestar Labs at least approximately $13.9 million.
66. [1] ALSHALABI, [2] KLAPP, and other co-conspirators used the fraud proceeds
received from Crestar Labs to benefit themselves and others, and to further the fraud.
OVERT ACTS
67. In furtherance of the conspiracy, and to accomplish its objects and purposes, at least
one of the co-conspirators committed, or caused to be committed, in the Middle District of
Tennessee and elsewhere, at least one of the following overt acts, among others:
A. On or about October 13, 2017, [1] ALSHALABI emailed a group of
‘investors in Crestar Labs and stated, “[t]he lab has already started receiving DNA samples
from the group in Florida that is estimated to reach a thousand samples in the next 60 days.
In March I was able to create and support this group with an office and training including
financial needs and now this group is sending accounts every week with DNA samples.”;
B. On or about June 27, 2018, a principal of Marketing Company #2 emailed
[1] ALSHALABI to propose an increase to Marketing Company #2’s “commission” rate
from Crestar Labs from 30% to 45% and to reduce the per-sample Cost of Goods deduction.
Marketing Company #2 further stated “[flirst thing that is paid is cost of goods to cover the
labs cost for any work done. Then the revenue share to [Marketing Company #2] of what
is left over is 45%”;

C. On or about September 12, 2018, [1] ALSHALABI emailed an employee

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of Crestar Labs requesting a calculations sheet for “commissions” for August. The sheet
indicated the amount owed to Marketing Company #2 based on the 45% of revenue
amounted to $11,779.05;

D. On or about September 17, 2018, Marketing Company #2 emailed [1]
ALSHALABI and an employee of Crestar Labs a sham hourly invoice for the same period
of time in August and in the amount of $11,779 that purported to represent services by the
hour at $250 per hour;

E. On or about September 17, 2018, [1] ALSHALABI instructed Crestar Labs
Employee #1 and [2] KLAPP by email to move Crestar Labs from Telemedicine Company
#2 to Telemedicine Company #3;

F, On or about November 28, 2018, Crestar Labs Employee #1 introduced Dr.
S.A. directly to Telemedicine Company #3 about “coming aboard.”;

G. In or about November 2018, Crestar Labs, through the signature of [2]
KLAPP, contracted with Genetix, through the signature of [3] CHASTAIN, to conduct
marketing services through the use of independent contractor sales representatives;

H. On or about December 3, 2018, Crestar Labs Employee #1 introduced [3]
CHASTAIN and Genetix to Telemedicine Company #3 and stated “She is working with
Crestar and wishes to utilize [Telemedicine Company #3] for her teleconsulting needs ....”;

I. On or about January 13, 2019, [3] CHASTAIN emailed Telemedicine
Company #3 regarding their contract negotiation and stated “Any mention of referral needs
to be taken out and some other terminology put in to protect us both.”;

J. On or about January 29, 2019, [3] CHASTAIN, on behalf of Genetix, and

Telemedicine Company #3 executed an agreement. In the Fees section of the agreement,

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the terms stated that Genetix would compensate Telemedicine Company #3 “the price per
referral.” The payment schedule stated: “Fee per referral of $160.”;
K. On or about February 20, 2019, a representative of Telemedicine Company
#1 sent a text message to Co-Conspirator #2 stating “Are those GA forms ready?” On or
about February 25, 2019, Co-Conspirator #2 responded by text message with a link to a
dropbox.com folder labeled “Crestar GA 2-23-19” and stated, “I have a couple hundred
more to drop for you today.”;
L. In or about March 2019, Marketing Company #3 referred Medicare
beneficiary J.K. to Crestar for CGx testing:
i. The signed doctor order for the CGx test came from a telemedicine
company, with the signature of Dr. J.A.;
ii. In or about June 2019, [1] ALSHALABI and [2] KLAPP caused
Crestar to submit approximately $8,100 in claims to Medicare for CGx
testing purportedly rendered to Medicare beneficiary J.K., of which
Medicare paid approximately $3,423;
iii. In or about August 2019, [1] ALSHALABI caused a payment to be
made in the amount of $70,000 to Marketing Company #3;
M. In or about March 2019, [3] CHASTAIN, through her marketing company
Genetix, referred Medicare beneficiary M.W. to Crestar for CGx testing:
i. The signed doctor order for the CGx test came from Telemedicine
Company #3, with the signature of Dr. S.A.;
ii. In or about June 2019, [1] ALSHALABI caused Crestar to submit

approximately $13,478 in total claims to Medicare for CGx testing

2
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purportedly rendered to Medicare beneficiary M.W., of which Medicare
paid approximately $5,383;

iii. In or about August 2019, [1] ALSHALABI caused a payment to be
made in the amount of $70,000 to Genetix;

N. On or about April 17, 2019, Telemedicine Company #3 sent an invoice to
[3] CHASTAIN. The invoice listed a quantity of 640 at a rate of $160 for a total amount
owed of $102,400.00;

O. On or about April 18, 2019, [3] CHASTAIN emailed Telemedicine
Company #3 about the April 17" invoice and stated: “We still have 217 applications still
waiting on Dr’s signatures. Believe me I want to be able to pay you now but we can’t
simply because we still haven’t been paid by the lab.”

P. On or about April 26, 2019, an owner of Marketing Company #4 sent an
email to [1] ALSHALABI, [2] KLAPP, Co-Conspirator #2, and another owner of
Marketing Company #4 and stated, “We had several meetings and discussions about our
marketing practices. Crestar knew everything we did. ... Your group knew everything we
did and gave guidance all along. You knew we paid people for survey’s.”;

Q. In or about April 2019, Crestar Labs, through [1] ALSHALABI, [2]
KLAPP, and Co-Conspirator #2 terminated the relationship with Marketing Company #4
purportedly based on Marketing Company #4’s marketing practices,

R. On or about May 17, 2019, [2] KLAPP sent an email to [3] CHASTAIN
regarding genetic testing samples sent by Genetix, copying [1] ALSHALABL and stated
“lw]e understand your frustration with not being able to get your samples processed and

paid in a timely manner . . . we advanced you $50K last week against your current billed

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samples so you could pay some of your reps.”

S. On or about May 17, 2019, [3] CHASTAIN sent an email to [2] KLAPP,
Co-Conspirator #2 and others and asked [2] KLAPP to call Telemedicine Company #3 to
tell them to “keep processing our swabs until we get paid... . they would get paid as soon
as we did. I have already paid them for 29 consults for the money that we received from
the lab for the 50,000.” [2] KLAPP responded “Money’s coming honey..”;

T. On or about May 21, 2019, Co-Conspirator #3 at Genetix sent an email to
[1] ALSHALABI and [2] KLAPP, and Co-Conspirator #2, with [3] CHASTAIN copied, |
regarding the terms of a new contract, and stated that the “flat-fee payment” needed to be

“more in line with our volumes” and Genetix had “only been paid $50K on over 1200

>

submitted samples. . . .”;

U. On or about May 21, 2019, Co-Conspirator #3 at Genetix emailed [1]
ALSHALABI, [2] KLAPP, and Co-Conspirator #2, with [3] CHASTAIN copied, and
complained about “not being paid on any of our samples” and stated “we need to be paid
fairly for our volumes — past and future.”;

V. On or about June 2019, after the same owners of Marketing Company #4
changed the company name and resumed marketing services to recruit Medicare
beneficiaries, Crestar Labs, through [1] ALSHALABL, [2] KLAPP, and Co-Conspirator
#2, re-engaged Marketing Company #4 under a new name;

W. On or about June 14, 2019, Co-Conspirator #2 emailed [1] ALSHALABI,
[2] KLAPP, and [3] CHASTAIN with an Excel file attached tracking the samples to date
from Genetix. The email stated:

° 116 Samples Paid to date
° $306,294.34 Collected

2
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e 1,029 samples billed to date
° 913 samples pending at insurance

Later that same day, Co-Conspirator #2 sent an updated Excel file with the patient names
included for tracking the swabs. The vast majority were listed as Medicare beneficiaries;

Xx. On or about June 25, 2019, [2] KLAPP sent an email to [1] ALSHALABI
and Co-Conspirator #2, stating:

“Please share some good news today with regard to getting paid from Medicare...

I’m getting bombarded until 11pm last night from:

[Owner of Marketing Company #9]

Lisa Chastain

[Owner of Marketing Company #6]

[Principal of a Marketing Company]

[Owner of Marketing Company #8]

[Owner of Marketing Company #3]

[Owner of Marketing Company #5];

Y. On or about June 26, 2019, [3] CHASTAIN forwarded an email from one
of Genetix’s sales representatives to [1] ALSHALABI, [2] KLAPP, and Co-Conspirator
#2 stating “[p]lease get the money in the bank or we are all going to be in trouble.” The
forwarded email was from a sales representative stating that she was “owed for six swabs”
and threatening to go to the Alabama Secretary of State if she was not paid;

Z. On or about July 28, 2019, [1] ALSHALABIL, [2] KLAPP, Co-Conspirator
#2, and others had an ongoing email exchange with Marketing Company #5 with the
subject line from Marketing Company #5 as “Please Pay Us So We Can Put This To Rest.”
One part of the email chain states in part, from [2] KLAPP: “You will [b]e paid as we get
paid on your samples. You do have access to your portal so you can see the status of your

samples.”;

AA. Onor about August 12, 2019, [1] ALSHALABI, [3] CHASTAIN, and Co-

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Conspirator #2 discussed their ongoing business and specifically discussed how doctors’
orders for genetic testing were obtained. During that discussion, [3] CHASTAIN stated,
in sum and substance, that Telemedicine Company #3 was automatically approving
doctors’ orders for genetic tests without proper consideration, to which Co-Conspirator #2
said, “Shhh. ... Don’t say that.”

BB. Onor about September 18, 2019, Marketing Company #6 sent an email to
[2] KLAPP and Co-Conspirator #2, copying a principal of Telemedicine Company #4
stating: “To confirm, [Marketing Company #6] is paying $50.00 up front per patient to
[Telemedicine Company #4]. The balance of $75.00 will then be paid once the [sic] we
receive reimbursement from said patient. [Telemedicine Company #4] will bill directly to
Crestar and money from [Marketing Company #6]’s AP can be debited to satisfy invoice.
... We plan on starting Asap in sending in a lot more swabs.”;

CC. On or about October 7, 2019, Co-Conspirator #2 sent an email to [1]
ALSHALABI and [2] KLAPP with the subject line referencing Marketing Company #7
and stated that a patient called and said the patient “submitted his sample via someone
going Door to Door marketing services.” [2] KLAPP responded that he was terminating
Marketing Company #7 immediately;

DD. On or about October 7, 2019, [1] ALSHALABI, [2] KLAPP and Co-
Conspirator #2 sent a letter of termination to the principal of Marketing Company #7;

EE. On or about October 9, 2019, the principal of Marketing Company #7 sent
a text message to [2] KLAPP stating “Would you mind sending an email or something
simple just stating that we are indeed still working together, just so that the letter

termination is no longer valid?” [2] KLAPP responded “Sure.”;

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FF. On or about October 14, 2019, the principal of Marketing Company #8 sent
an email to [1] ALSHALABI and [2] KLAPP noting that several of their tests, which were
for Medicare beneficiaries, should have been paid to Crestar “many months ago.” The
email went on to state “Where is our money? Our contract is predicated on a % of the
amount received. All we get is a ‘form’ from [Co-Conspirator #2] showing what he states
Crestar was paid and not an actual report from Medicare/Medicaid. We are entitled to full
disclosure because our income is based on this report. ... We believe Crestar has been paid
on these and Crestar has our money... . I will contact CMS, Medicare, Novitas and the
FBI .... We want our money and we want it now! We are through being the nice guys.
We have Agents who are losing their homes and being evicted from their apartments
because of this.”;

GG. Onor about October 22, 2019, the principal of Marketing Company #7 sent
a text message to [1] ALSHALABI, stating “Fadel just confirming payment will be
submitted today or tomorrow? Will that be a wire or ach? Thanks in advance!” [1]
ALSHALABI responded: “Payment will be sent tomorrow.”; and

HH. On or about the dates below, in the Middle District of Tennessee, and each
constituting a separate overt act, [1] ALSHALABI and [2] KLAPP directly or indirectly
made payments to the Marketing Companies as described below, in exchange for the

referral of Medicare and Medicaid beneficiaries for genetic testing:

 

 

 

Crestar Labs Bank Account On or Amount Recipient
About Date . .
of Payment
Suntrust x6074 5/16/2018 $31,670.16 | Marketing
Company #2

 

 

 

 

 

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Suntrust x6074 2/26/2019 $85,792.33 Marketing
Company #4
Suntrust x6074 5/08/2019 10,000.00 Genetix
Suntrust x6074 5/08/2019 10,000.00 Genetix
Suntrust x6074 5/09/2019 30,000.00 Genetix
Suntrust x6074 7/11/2019 $7,500 Marketing
Company #8
JPMorgan Chase x0839 8/05/2019 $70,000 Marketing
Company #3
Suntrust x6074 8/16/2019 $25,000 Marketing
Company #9
Suntrust x6074 8/16/2019 $17,663.82 | Marketing
Company #6
Suntrust x6074 8/19/2019 $4,103.58 Marketing
Company #5
JPMorgan Chase x0839 8/30/2019 $70,000 Genetix
Suntrust x6074 10/25/2019 | $4,011.90 Marketing
Company #10
Suntrust x6074 11/14/2019 | $240,988.28 | Marketing
Company #7

 

All in violation of Title 18, United States Code, Section 371.

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COUNTS TWO THROUGH FOURTEEN

68. Paragraphs 1 through 67 are re-alleged and incorporated by reference as though
fully set forth herein.

69. On or about each date listed below, in the Middle District of Tennessee, [1]
ALSHALABI and [2] KLAPP knowingly and willfully offered and paid any remuneration,
including kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and in kind
to any person to induce such person to refer an individual to a person for the furnishing and
arranging for the furnishing of any item or service for which payment may be made in whole or in

part under a Federal health care program, that is, Medicare and Medicaid:

 

 

 

 

 

 

 

 

 

 

 

 

 

Count | On or About Crestar Labs Amount | Recipient
Date of Payment | Bank Account
2 5/16/2018 Suntrust x6074 $31,670.16 | Marketing
Company #2
3 2/26/2019 Suntrust x6074 $85,792.33 | Marketing
Company #4
4 5/08/2019 Suntrust x6074 10,000.00 Genetix
5 5/08/2019 Suntrust x6074 10,000.00 Genetix
6 5/09/2019 Suntrust x6074 30,000.00 | Genetix
7 7/11/2019 Suntrust x6074 $7,500.00 Marketing
, Company #8
8 8/05/2019 JPMorgan Chase | $70,000.00 | Marketing
Company #3
x0839

 

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Count | On or About Crestar Labs | Amount Recipient
Date of Payment | Bank Account

9 8/16/2019 Suntrust x6074 $25,000.00 | Marketing
Company #9

10 8/16/2019 Suntrust x6074 $17,663.82 | Marketing
Company #6

11 8/19/2019 Suntrust x6074 $4,103.58 | Marketing ~
Company #5

12 8/30/2019 JPMorgan Chase | $70,000.00 | Genetix

x0839

13 10/25/2019 Suntrust x6074 $4,011.90 Marketing
Company #10

14 11/14/2019 Suntrust x6074 $240,988.28 | Marketing
Company #7

 

 

 

 

 

 

 

All in violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A), and Title 18,

United States Code, Section 2.
COUNTS FIFTEEN THROUGH EIGHTEEN

70. Paragraphs 1 through 69 are re-alleged and incorporated by reference as though
fully set forth herein.

71. On or about each date listed below, in the Middle District of Tennessee, and
elsewhere, [3] CHASTAIN knowingly and willfully solicited and received any remuneration,
including kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and in kind

in return for referring an individual to a person for the furnishing and arranging for the furnishing

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of any item or service for which payment may be made in whole or in part under a Federal health

care program, that is, Medicare and Medicaid:

 

 

 

 

 

Count | On or About Crestar Labs Amount Genetix
Date Payment Sender Bank Received Bank

Received Account Account

15 5/08/2019 Suntrust x6074 10,000.00 Suntrust x2147

16 5/08/2019 Suntrust x6074 10,000.00 Suntrust x2147

17 5/13/2019 Suntrust x6074 30,000.00 Suntrust x2147

18 8/30/2019 JPMorgan Chase | $70,000.00 | Suntrust x2147

x0839

 

 

 

 

 

 

 

All in violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A), and Title 18,

United States Code, Section 2.
COUNT NINETEEN

72. Paragraphs 1 through 71 are re-alleged and incorporated by reference as though
fully set forth herein.

73. From in or about July 2017 and continuing through in or about February 2020, in
the Middle District of Tennessee and elsewhere, [1] ALSHALABI, [2] KLAPP, and [3]
CHASTAIN did knowingly and willfully combine, conspire, confederate, and agree with each
other and with others, known and unknown to the Grand Jury, to commit certain offenses against
the United States, that is, to knowingly and willfully execute a scheme and artifice to defraud a
health care benefit program affecting commerce, as defined by Title 18, United States Code,
Section 24(b), that is, Medicare, and to obtain, by means of materially false and fraudulent

pretenses, representations, and promises, money and property owned by, and under the custody

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and control of, said health care benefit program, in connection with the delivery of and payment

for health care benefits, items, and services, in violation of Title 18, United States Code, Section

1347,

74.

It was the purpose of the conspiracy for the defendants and their co-conspirators to

unlawfully enrich themselves by, among other things:

a.

75.

paying and receiving kickbacks in exchange for the referral of Medicare
beneficiaries, so that Crestar Labs could bill Medicare for genetic tests, without
regard to whether the beneficiaries needed the test;

paying or causing the payment of kickbacks to telemedicine companies in exchange
for the ordering and arranging for the ordering of genetic tests for Medicare
beneficiaries, without regard to the medical necessity for the prescribed genetic
tests;

submitting and causing the submission of false and fraudulent claims to Medicare
through Crestar Labs and other laboratories for genetic tests that were not medically
necessary and not eligible for reimbursement;

concealing the submission of false and fraudulent claims to Medicare; and
diverting fraud proceeds for their personal use and benefit, the use and benefit of
others, and to further the fraud.

The Manner and Means section of Count One of this Superseding Indictment is re-

alleged and incorporated by reference as though fully set forth herein as a description of how the

co-conspirators sought to accomplish the purpose of the conspiracy.

All in violation of Title 18, United States Code, Section 1349.

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COUNTS TWENTY THROUGH TWENTY-FIVE

76. Paragraphs 1 through 75 are re-alleged and incorporated by reference as though
fully set forth herein.

77. From in or about July 2017 and continuing through in or about February 2020, in
the Middle District of Tennessee and elsewhere, [1] ALSHALABI, [2] KLAPP, and [3]
CHASTAIN in connection with the delivery of and payment for health care benefits, items, and
services, did knowingly and willfully execute a scheme and artifice to defraud a health care benefit
program affecting commerce, as defined by Title 18, United States Code, Section 24(b), that is,
Medicare, and to obtain, by means of materially false and fraudulent pretenses, representations,
and promises, money and property owned by, and under the custody and control of, said health
care benefit program.

78. It was the general purpose of the scheme and artifice that [1] ALSHALABI, [2]
KLAPP, and [3] CHASTAIN, aided and abetted by others, unlawfully enriched themselves by,
among other things:

a. paying and receiving kickbacks in exchange for the referral of Medicare
beneficiaries, so that Crestar Labs could bill Medicare for genetic tests without
regard to whether the beneficiaries needed the test;

b. paying or causing the payment of kickbacks to telemedicine companies in exchange
for the ordering and arranging for the ordering of genetic tests for Medicare
beneficiaries, without regard to the medical necessity for the prescribed genetic

tests;

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c. submitting and causing the submission of false and fraudulent claims to Medicare

through Crestar Labs and other laboratories for genetic tests that were not medically

necessary and not eligible for reimbursement;

d. concealing the submission of false and fraudulent claims to Medicare; and

e, diverting fraud proceeds for their personal use and benefit, the use and benefit of

others, and to further the fraud.

79. In furtherance of the scheme, as described below, the defendants submitted, or

caused to be submitted, to Medicare, false and fraudulent claims for genetic testing, representing

that the services were medically necessary, eligible for reimbursement, and provided to Medicare

beneficiaries as claimed:

 

 

 

 

 

 

 

 

Count Defendants Medicare | Ordering | Claim On or Claim Control Approx. Amt.
Beneficiary | Provider | About Date Number Billed to
; Medicare
20 [1] ALSHALABI, M.W. S.A. 6/17/2019 | 691019168745470 | $11,845.10
[2] KLAPP,
[3] CHASTAIN
21 [1] ALSHALABI, B.K. ALR. 6/18/2019 | 691019169559920 | $6,974.04
[2] KLAPP,
[3] CHASTAIN
22 [1] ALSHALABI, EJ. D.G. 6/26/2019 | 699619177600032 | $8,105.95
[2] KLAPP
23 [1] ALSHALABI, J.K. JA. 6/26/2019 | 699619177600085 | $8,105.95
[2] KLAPP
24 {1] ALSHALABI, RS. CM. 8/7/2019 | 452919219276090 | $16,269.94
[2] KLAPP,
[3] CHASTAIN
25 [1] ALSHALABI, S.S. C.M. 8/23/2019 | 160219235345260 | $1,681.18
[2] KLAPP,
[3] CHASTAIN

 

 

 

 

 

 

 

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All in violation of Title 18, United States Code, Sections 1347 and 2.
FORFEITURE ALLEGATION

80. The allegations of this information are re-alleged and incorporated by reference as
though fully set forth herein for purposes of alleging forfeiture to the United States of certain
property in which the defendant has an interest.

81. Upon conviction of any count of the Superseding Indictment, [1] ALSHALABI,
[2] KLAPP, and [3] CHASTAIN shall forfeit to the United States any property, real or personal,
that constitutes or is derived, directly or indirectly, from gross proceeds traceable to the
commission of the offense, pursuant to Title 18, United States Code, Section 982(a)(7).

82. The property subject to forfeiture includes, but is not limited to, the sum of money
equal in value to the gross proceeds traceable to the commission of the violation alleged in this
Information, which the United States will seek as a forfeiture money judgment as part of each
defendants’ sentence.

83.  Ifany of the above-described forfeitable property, as a result of any act or omission
of [1] ALSHALABI, [2] KLAPP, and/or [3] CHASTAIN:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without
difficulty,

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the United States shall be entitled to forfeiture of substitute property, and it is the intent of the
United States, pursuant to Title 21, United States Code, Section 853(p) to seek forfeiture of any

other property of [1] ALSHALABI, [2] KLAPP, and/or [3] CHASTAIN.

A TRUE BILL

 

MARY JANE STEWART
ACTING UNITED STATES ATTORNEY

ROBERT S. LEVINE
ASSISTANT UNITED STATES ATTORNEYS

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